     Case 2:12-cv-00536-GMN-VCF Document 1299 Filed 10/15/20 Page 1 of 3




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   Tel.: 619-269-0400
10 Fax: 619-269-0401
   Attorneys for Court-Appointed Monitor,
11 Thomas W. McNamara

12                              UNITED STATES DISTRICT COURT

13                                    DISTRICT OF NEVADA

14 FEDERAL TRADE COMMISSION,                    Case No. 2:12-cv-00536-GMN-VCF

15                       Plaintiff,             NOTICE OF WITHDRAWAL OF
           v.                                   COUNSEL
16
     AMG SERVICES, INC., et al.,
17                       Defendants, and
18 PARK 269 LLC, et al.,
                       Relief Defendants.
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     Case 2:12-cv-00536-GMN-VCF Document 1299 Filed 10/15/20 Page 2 of 3




 1          TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

 2          This notice serves to advise that Edward Chang of McNamara Smith LLP, counsel for

 3 Thomas W. McNamara, the Court-Appointed Monitor in the above-captioned case, hereby

 4 withdraws from the above-captioned case as of the date of this filing due to his departure from

 5 private practice and acceptance of a position as an Assistant United States Attorney as of

 6 October 26, 2020. Please remove Mr. Chang from all future mailings and notices with respect to

 7 this case.

 8          Logan D. Smith and Sanjay Bhandari of McNamara Smith LLP and Abran Vigil of

 9 Ballard Spahr LLP will continue to act as counsel for Mr. McNamara.

10

11 Dated: October 15, 2020                       MCNAMARA SMITH LLP

12
                                                 By:       /s/ Edward Chang
13                                                     Edward Chang (NV 11783)
                                                       echang@mcnamarallp.com
14                                                     Logan D. Smith (Pro Hac Vice)
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15                                                     Sanjay Bhandari (Pro Hac Vice)
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                                                       Abran E. Vigil (NV 7548)
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                                                       Fax:       702-471-7070
22
                                                       Attorneys for Court-Appointed Monitor,
23               IT IS SO ORDERED.                     Thomas W. McNamara
24

25               ___________________________________
                 Cam Ferenbach
26               United States Magistrate Judge
27
                        10-15-2020
28               Dated:_____________________________

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     Case 2:12-cv-00536-GMN-VCF Document 1299 Filed 10/15/20 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE

 2         I hereby certify that on the 15th day of October, 2020, pursuant to Fed. R. Civ. P. 5(b), I
   served via CM/ECF or delivered by email and mailing in the U.S. Mail a true and correct copy of
 3 the foregoing NOTICE OF WITHDRAWAL OF COUNSEL, postage prepaid and addressed
   to the following:
 4
   VIA CM/ECF                                         VIA CM/ECF
 5 Kimberly L. Nelson                                 Paul C. Ray
   Federal Trade Commission                           Paul C. Ray, Chtd.
 6 600 Pennsylvania Ave. NW                           8670 West Cheyenne Avenue, Suite 130
   Mail Stop CC-9528                                  Las Vegas, NV 89129
 7 Washington, DC 20580                               Tel.: 702-823-2292
   Tel.: 202-326-3304                                 Fax: 702- 823-2384
 8 Fax: 202-326-3197                                  Email: paulcraylaw@gmail.com
   Email: knelson@ftc.gov                             Attorneys for AMG Capital Management, LLC;
 9 Attorneys for FTC                                  Level 5 Motorsports, LLC; Black Creek
                                                      Capital Corporation; Broadmoor Capital
10                                                    Partners, LLC; Scott A. Tucker; Park 269 LLC

11 VIA EMAIL
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12 7118 Village Drive
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   Pro Se
14

15  /s/ Edward Chang
   Edward Chang
16 Attorneys for the Court-Appointed Monitor,
   Thomas W. McNamara
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